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                                                                            United States District Court
                                                                              Southern District of Texas

                                                                                 ENTERED
                                                                                March 23, 2021
                                                                              Nathan Ochsner, Clerk

                    UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION

       VINCENT HENDERSON,              § CIVIL ACTION NO.
                Plaintiff,             § 4:18-cv-00413
                                       §
                                       §
              vs.                      § JUDGE CHARLES ESKRIDGE
                                       §
                                       §
       HARRIS COUNTY, et al,           §
                 Defendants.           §
                       ORDER ADOPTING
                MEMORANDUM AND RECOMMENDATION

           This case involves claims by Plaintiff Vincent Henderson
       under 42 USC § 1983 for excessive force, failure to train, failure
       to discipline, and failure to supervise against Defendants Harris
       County, Michael Richard, and Ron Hickman. See Dkt 59
       (corrected third amended complaint). It was referred for
       disposition to Magistrate Judge Nancy K. Johnson and then
       reassigned to Magistrate Judge Sam S. Sheldon. Dkts 56, Minute
       Entry of 07/10/2020.
           Hickman was the Harris County Sheriff from May 2015 to
       December 2016. He filed a motion to dismiss for failure to state
       a claim against him. See Dkt 69. The Magistrate Judge
       recommended that:
                o First, the motion to dismiss be granted because the
                     complaint fails to state a claim under Section 1983
                     against Hickman; and
                o Second, the claims against Hickman be dismissed
                     with prejudice because Henderson has filed four
                     complaints, all of which are based on a 2009 report
                     from the United States Department of Justice that
                     has been found insufficient to support the subject
                     claim.
       Dkt 92 at 8, 10.
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            The district court conducts a de novo review of those
       conclusions of a magistrate judge to which a party has specifically
       objected. See 28 USC § 636(b)(1)(C); United States v Wilson, 864
       F2d 1219, 1221 (5th Cir 1989). To accept any other portions to
       which there is no objection, the reviewing court need only satisfy
       itself that no clear error appears on the face of the record. See
       Guillory v PPG Industries Inc, 434 F3d 303, 308 (5th Cir 2005), citing
       Douglass v United Services Automobile Association, 79 F3d 1415, 1420
       (5th Cir 1996); see also FRCP 72(b) Advisory Comm Note
       (1983).
            Neither party filed an objection. As such, the Court has
       reviewed the pleadings, the record, the applicable law, and the
       recommendation. No clear error appears on the face of the
       record.
            The Memorandum and Recommendation of the Magistrate
       Judge is ADOPTED as the Memorandum and Order of this Court.
       Dkt 92.
            The motion to dismiss by Defendant Ron Hickman is
       GRANTED. Dkt 92. The claims against him by Plaintiff Vincent
       Henderson are DISMISSED WITH PREJUDICE.
            SO ORDERED.



           Signed on March 23, 2021, at Houston, Texas.




                                      Hon. Charles Eskridge
                                      United States District Judge




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